                  Case 23-11069-CTG          Doc 1323         Filed 12/08/23       Page 1 of 11




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    YELLOW CORPORATION, et al.,                             Case No. 23-11069 (CTG)

                           Debtors.1                        (Jointly Administered)

                                                            Re: Docket Nos. 22, 575, 1285

                  LIMITED OBJECTON OF MID-AMERICAN CONSTRUCTORS,
                     LLC TO THE DEBTORS’ SALE MOTION AND ORDER

             Mid-American Constructors, LLC (“MAC”), a creditor and party-in-interest in the chapter

11 bankruptcy cases (the “Bankruptcy Cases”) of the above-captioned debtors and debtors-in-

possession (the “Debtors”), hereby submits this Objection (the “Objection”) to the Sale Motion

and Proposed Sale Order (as defined below). In support of this Objection MAC respectfully states

as follows:

                                              JURISDICTION

             1.     The Court has jurisdiction to consider this Objection and the Sale Motion pursuant

to 28 U.S.C. §§ 157 and 1334, and the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012. This is a core proceeding

pursuant to 28 U.S.C. § 157(b). Pursuant to Rule 9013-l(f) of the Local Rules, the Debtor consents

to the entry of a final order by the Court in connection with this matter to the extent that it is later

determined that the Court, absent consent of the parties, cannot enter final orders or judgments

consistent with Article III of the United States Constitution.




1
  A complete list of each of the Debtors in these Chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 10990 Roe Avenue, Overland Park, KS
66211.

                                                        1
M2275\474935\274773436
             Case 23-11069-CTG          Doc 1323      Filed 12/08/23    Page 2 of 11




                                         BACKGROUND

        2.      On August 6 and 7, 2023 (the “Petition Date”), the Debtors filed voluntary petitions

for relief under chapter 11 of the Bankruptcy Code.

        3.      On August 7, 2023 the Debtors filed the Motion of the Debtors for Entry of an

Order (I)(A) Approving Bidding Procedures for the Sale or Sales of the Debtors’ Assets; (B)

Scheduling an Auction and Approving the Form and Manner of Notice Thereof; (C) Approving

Assumption and Assignment Procedures, (D) Scheduling a Sale Hearing and Approving the Form

and Manner of Notice Thereof; (II)(A) Approving the Sale of the Debtors’ Assets Free and Clear

of Liens, Claims, Interests and Encumbrances and (B) Approving the Assumption And Assignment

of Executory Contracts and Unexpired Leases; and (III) Granting Related Relief [D.I. 22] (the

“Sale Motion”)

        4.      On December 4, 2023, the Debtor filed the Notice of Winning Bidders and, If

Applicable, Back-up Bidders With Respect to Certain of the Debtors’ Real Property Assets [D.I.

1268] (the “Notice of Winning Bidder”) which set forth the winning and back up bidders for 128

of its Owned Properties.

        5.      On December 6, 2023, the Debtors filed the Notice of Filing of Proposed Order (I)

Approving Certain Asset Purchase Agreements; (II) Authorizing and Approving Sales of Certain

Real Property Assets of the Debtors Free and Clear of Liens, Claims, Interests, and

Encumbrances, in Each Case Pursuant to the Applicable Asset Purchase Agreement; (III)

Approving the Assumption and Assignment of Certain Executory Contracts and Unexpired Leases

in Connection Therewith, in Each Case as Applicable Pursuant to the Applicable Asset Purchase

Agreement; and (IV) Granting Related Relief [D.I. 1285] (the “Proposed Sale Order”).




                                                 2
M2275\474935\274773436
              Case 23-11069-CTG         Doc 1323     Filed 12/08/23      Page 3 of 11




        A.      MAC’s Relationship With The Debtor.

        6.      Prior to the Petition Date, pursuant to several construction contracts, MAC provided

construction services, material, and/or equipment to the Debtors at certain of the Debtors’ Owned

Properties (as defined in the Finalized Bidding Procedures).

        7.      Specifically, MAC provided services to the Debtors at the following properties that

are included in the Notice of Winning Bidder (collectively, the “Construction Properties”):

                 Debtor
                                    Address                  City         St      Zip
                  Site #
                 H337      72 Eastgate Drive           Danville           IL     61832
                 Y371      3700 78th Avenue West       Rock Island        IL     61201
                 H328      3705 Highway 321            West Columbia      SC     29172
                 H395      500 Oak Bluff Lane          Goodlettsville     TN     37072
                 H262      27411 Wick Road             Romulus            MI     48174
                 Y531      8000 SW 15th St             Oklahoma City      OK     73128
                 H548      2702 Newman Road            Joplin             MO     64801
                 Y245      460 Transport Court         Lexington          KY     40511

        8.      MAC is owed a total $1,803,636.00 for its work relating to the Construction

Properties.

        9.      As a result of its work on the Construction Properties, MAC recorded and served

contractor’s liens (the “Contractor’s Liens”) in the states where the Construction Properties are

located.

        10.     The amount of each Contractor’s Lien by property is as follows:

           Debtor                                                                   Contractor’s
                            Property                 City           St    Zip
            Site #                                                                  Lien Amount
           H337      72 Eastgate Drive          Danville            IL   61832    $    204,000.00
           Y371      3700 78th Avenue West      Rock Island         IL   61201    $    239,000.00
           H328      3705 Highway 321           West Columbia       SC   29172    $     15,900.00
           H395      500 Oak Bluff Lane         Goodlettsville      TN   37072    $     58,200.00
           H262      27411 Wick Road            Romulus             MI   48174    $       6,140.00
           Y531      8000 SW 15th St            Oklahoma City       OK   73128    $     31,200.00
           H548      2702 Newman Road           Joplin              MO   64801    $    864,836.00
           Y245      460 Transport Court        Lexington           KY   40511    $    384,360.00

                                                 3
M2275\474935\274773436
              Case 23-11069-CTG        Doc 1323      Filed 12/08/23      Page 4 of 11




        11.     In accordance with the Bankruptcy Code, MAC filed notices of perfection and

continuation of the Contractor’s Liens pursuant to Bankruptcy Code section 546(b) to apprise the

Debtors and all other parties claiming an interest in the Construction Properties (including in all

removables, improvements, proceeds, cash collateral, replacements, accessions, products, rents,

and profits of the Property) of MAC’s intent to continue, maintain, and/or enforce its liens, rights,

and interests and to comply with any and all present and/or future notice, perfection, maintenance,

and enforcement requirements under the Bankruptcy Code, and applicable state law. See D.I. 636,

744, 798, 799, 953, 954, 955, 956.

        B.      The Debtor’s Sale Motion.

        12.     Pursuant the Sale Motion and Sale Order, the Debtors propose to sell several of the

Debtors’ Owned Properties including the Construction Properties, to various purchasers as set

forth in the Sale Order, the Notice of Winning Bidder and associated Asset Purchase Agreements.

        13.     Under the terms of the proposed sales, the winning bidders will purchase the

Acquired Assets “free and clear” of Adverse Interests, which include both statutory and

mechanics’ liens. Upon closing of the sales, the Debtors are authorized to “transfer all of their

right, title and interest in and to the Acquired Assets free and clear of any and all claims. . .

[including] statutory liens [and] mechanics’ liens.” See D.I. 1285, ¶ W.

        14.     The Proposed Sale Order further provides:

        Except as otherwise expressly provided in each Asset Purchase Agreement or this Order,
        such Adverse Interests on the applicable Acquired Assets shall attach to the proceeds for
        such Acquired Assets allocated to the Debtors in the order of their priority, with the same
        validity, force and effect which they have against the applicable Acquired Assets
        immediately prior to the applicable Closing, subject to any claims and defenses the Debtors
        may possess with respect to such Adverse Interests.




                                                 4
M2275\474935\274773436
              Case 23-11069-CTG         Doc 1323       Filed 12/08/23     Page 5 of 11




Adverse Interest holders who do not object to the Sale Motion or applicable Asset Purchase

Agreement, are deemed to consent to the sale transactions and are forever barred from asserting

their claims or interests.

        15.     If the holder of an Adverse Interest objects to the Sale Motion, their Adverse

Interest will attach to the proceeds of the applicable Sale and be placed in a separate account for

the benefit of the holders of Adverse Interests (the “Proceeds Account”). The Debtors then propose

to pay the Adverse Interest holders in full in cash “in the order of priority of such Adverse Interests

under the Final DIP Order, the Final UST Cash Collateral Order, and the Prepetition Intercreditor

Agreement and with the same validity, force, and effect which such Adverse Interests had against

the applicable Acquired Assets prior to the entry of this Order.”

                             OBJECTIONS TO THE SALE MOTION

        16.     Although MAC does not generally object to the sale of the Construction Properties

to the winning bidders, it objects to any transfer or sale of the Construction Properties that does

not fully preserve the Construction Liens. MAC further objects to any of the Sale documents

including all applicable Asset Purchase Agreements to the extent that they diminish or extinguish

the existence or priority of the Construction Liens. MAC believes these issues could be resolved

with additional and clarifying language specifying MAC’s interests, the proposed amounts to be

deposited into the separate account for each Construction Property and the procedures the Debtors

will employ to remove and distribute funds from the separate account.

        17.     Specification of MAC’s interests. Under 11 U.S.C. § 363(f), the Debtor may not

permissibly sell and transfer its interests in the Construction Properties without satisfying MAC’s

lien rights, except to the extent that such rights can be satisfied monetarily. To that extent, MAC

objects to any sale of the Construction Properties unless MAC’s liens attach to the proceeds of the



                                                  5
M2275\474935\274773436
              Case 23-11069-CTG         Doc 1323      Filed 12/08/23     Page 6 of 11




sale and the Sale Order specifically and clearly reflects that attachment with respect to MAC.

Accordingly, MAC requests additional language in the Sale Order that states MAC is an Adverse

Interest holder and its Construction Liens are preserved and attach to the proceeds of each

applicable sale, notwithstanding any language in the applicable Asset Purchase Agreements to the

contrary.

        18.     Deposit Amounts for the Proceeds Account. MAC also requests specificity from

the Debtors as to the amounts they will be depositing into the separate account on behalf of the

Construction Properties. In the Notice of Winning Bidder, the Debtors broke down total sale

amounts by winning bidder, and not by property. Accordingly, MAC cannot determine the final

sale prices of the Construction Properties and thus the amount that should be separated for the

Construction Properties.

        19.     Distribution Procedures for the Proceeds Account. Although the Proposed Sale

Order properly accounts for the attachment of the Adverse Interests to the proceeds of each sale

and contemplates a separate account for the benefit of the Adverse Interest holders, the proposed

method of distribution of those funds is unclear. First, it is not clear under the Proposed Sale Order

whether each property will have its own separate account, or whether there will be one Proceeds

Account that comingles the sale proceeds from the various properties. Second, any payments made

from the Proceeds Account should be in accordance with the priority order set forth in the

Bankruptcy Code and any applicable court orders. Given the broad definition of Adverse Interests

set forth in the Proposed Sale Order, it is possible that certain Adverse Interest holders may share

the same priority under the Bankruptcy Code, but there is no information on how the Debtors

intend to handle a distribution under those circumstances and no opportunity for an Adverse

Interest holder to object to the Debtors’ determination of priority.



                                                  6
M2275\474935\274773436
              Case 23-11069-CTG        Doc 1323      Filed 12/08/23    Page 7 of 11




        20.     Accordingly, MAC should have notice and an opportunity to object to any

distribution from the Proceeds Account (or accounts): (a) before any distribution is made that

would reduce the funds in the Proceeds Account to an amount that is lower than the amount of

MAC’s Constructions Liens and (b) before any distribution to any Adverse Interest holders with

the same or lower priority status under the Bankruptcy Code.

                                     Reservation of Rights

        21.     MAC reserves its right to amend, supplement, and/or otherwise modify this

Objection and to raise other and further objections to the Sale Order and associated applicable

Asset Purchase Agreements.

        WHEREFORE, MAC respectfully requests that the Court deny the Sale Motion unless and

to the extent that the Sale Order fully preserves MAC’s statutory lien rights as described above.

Date: December 8, 2023                       CLARK HILL PLC
      Wilmington, Delaware
                                             /s/ Karen M. Grivner
                                             Karen Grivner (Bar No. 4372)
                                             824 N. Market Street, Suite 710
                                             Wilmington, DE 19801
                                             Telephone: (302) 250-4750
                                             Facsimile: (302) 421-9439
                                             Email: kgrivner@clarkhill.com
                                             -and-
                                             Rebecca J. S. Cassell (MI Bar No. P64456)
                                             MYERS & MYERS, PLLC
                                             915 N. Michigan Avenue, Suite 200
                                             Howell, MI 48843
                                             Telephone: (517) 540-1700
                                             Facsimile: (517) 540-1701
                                             Email: rcassell@myers2law.com
                                             Attorneys for Mid-American Constructors, LLC




                                                7
M2275\474935\274773436
             Case 23-11069-CTG         Doc 1323       Filed 12/08/23    Page 8 of 11




                                CERTIFICATE OF SERVICE

         I, Karen Grivner, hereby certify that on December 8, 2023, I caused a true and correct copy
of the Mid-American Constructors, LLC’s Objection to the Debtors’ Sale Motion to be served on
all parties named in the attached service list in the manner of service indicated thereon.

Date: December 8, 2023                        CLARK HILL PLC
      Wilmington, Delaware
                                              /s/ Karen M. Grivner
                                              Karen Grivner (Bar No. 4372)
                                              824 N. Market Street, Suite 710
                                              Wilmington, DE 19801
                                              Telephone: (302) 250-4750
                                              Facsimile: (302) 421-9439
                                              Email: kgrivner@clarkhill.com
                                              -and-
                                              Rebecca J. S. Cassell (MI Bar No. P64456)
                                              MYERS & MYERS, PLLC
                                              915 N. Michigan Avenue, Suite 200
                                              Howell, MI 48843
                                              Telephone: (517) 540-1700
                                              Facsimile: (517) 540-1701
                                              Email: rcassell@myers2law.com
                                              Attorneys for Mid-American Constructors, LLC




                                                 8
M2275\474935\274773436
              Case 23-11069-CTG              Doc 1323       Filed 12/08/23        Page 9 of 11




VIA EMAIL:
 Allyson B. Smith                                         Laura Davis Jones
 Kirkland & Ellis LLP                                     Timothy P. Cairns
 601 Lexington Ave                                        Peter J. Keane
 New York, New York 10022                                 Edward Corma
 Email: allyson.smith@kirkland.com                        Pachulski Stang Ziehl & Jones LLP
                                                          919 North Market Street, 17th Floor
 Patrick J. Nash Jr., P.C.                                PO Box 8705
 David Seligman, P.C.                                     Wilmington, Delaware 19801
 Whitney Fogelberg                                        Email: ljones@pszjlaw.com
 Kirkland & Ellis LLP                                     Email: tcairns@pszjlaw.com
 300 North LaSalle                                        Email: pkeane@pszjlaw.com
 Chicago, Illinois 60654                                  Email: ecorma@pszjlaw.com
 Email: patrick.nash@kirkland.com
 Email: david.seligman@kirkland.com                       Debtors’ Co-Counsel
 Email: whitney.fogelberg@kirkland.com

 Debtors’ Co-Counsel

 Cody Kaldenberg                                          Jane M. Leamy
 Jon Cremeans                                             Richard L. Schepacarter
 Ducera Partners LLC                                      Office of the U.S. Trustee
 11 Times Square, 36th Floor                              J. Caleb Boggs Federal Building
 New York, New York 10036                                 844 King Street, Suite 2207
 Email: ckaldenberg@ducerapartners.com                    Lockbox 35
 Email: jcremeans@ducerapartners.com                      Wilmington, Delaware 19801
                                                          Email: jane.m.leamy@usdoj.gov
 Proposed Investment Banker to the Debtors                Email: richard.schepacarter@usdoj.gov

                                                          United States Trustee

 Kevin M. Capuzzi                                         Philip C. Dublin
 John C. Gentile                                          Meredith A. Lahaie
 Jennifer R. Hoover                                       Abid Qureshi
 Benesch Friedlander Coplan & Aronoff LLP                 Joseph L. Sorkin
 1313 North Market Street                                 Kevin Zuzolo
 Suite 1201                                               Akin Gump Strauss Hauer & Feld LLP
 Wilmington, Delaware 19801                               One Bryant Park
 Email: kcapuzzi@beneschlaw.com                           Bank of America Tower
 Email: jgentile@beneschlaw.com                           New York, New York 10036
 Email: jhoover@beneschlaw.com                            Email: pdublin@akingump.com
                                                          Email: mlahaie@akingump.com
 Co-Counsel for the Official Committee of Unsecured       Email: aqureshi@akingump.com
 Creditors                                                Email: jsorkin@akingump.com
                                                          Email: kzuzolo@akimgump.com

                                                          Co-Counsel for the Official Committee of Unsecured
                                                          Creditors




                                                      9
M2275\474935\274773436
             Case 23-11069-CTG            Doc 1323    Filed 12/08/23        Page 10 of 11



 Susheel Kirplani                                    L. Katherine Good
 Quinn Emmanuel Urquhart & Sullivan                  Maria Kotsiras
 51 Madison Avenue, 22nd Floor                       Potter Anderson & Corroon LLP
 New York, New York 10010                            1313 N. Market Street, 6th Floor
 Email: susheelkirpalani@quinnemanuel.com            Wilmington, Delaware 19801
                                                     Email: kgood@potteranderson.com
 Eric Winston                                        Email: mkotsiras@potteranderson.com
 Jordyn Paperny
 Quinn Emmanuel Urquhart & Sullivan                  Co-Counsel for MFN Partners, LP
 865 S. Figueroa St., 10th Floor
 Los Angeles, California 90017
 Email: ericwinston@quinnemanuel.com
 Email: jordyn.paperny@quinnemanuel.com

 Co-Counsel for MFN Partners, LP

 Lucas S. Smith                                      Joshua M. Spencer
 Ropes & Gray LLP                                    Phillip W. Nelson
 191 North Wacker Drive, 32nd Floor                  Holland & Knight LLP
 Chicago, Illinois 60606                             50 N. Riverside Plaza, Suite 2700
 Email: luke.smith@ropesgray.com                     Chicago, Illinois 60606
                                                     Email: joshua.spencer@hklaw.com
 Natasha S. Hwangpo                                  Email: phillip.nelson@hklaw.com
 Ropes & Gray LLP
 1211 Avenue of the Americas
 New York, New York 10036
 Email: natasha.hwangpo@ropesgray.com

 Scott Greissman                                     Kevin Simard
 Elizabeth Feld                                      M. Hampton Foushee
 Andrew Zatz                                         Choate, Hall & Stewart LLP
 White & Case LLP                                    Two International Place
 1221 Avenue of the Americas                         Boston, Massachusetts 02110
 New York, New York 10020                            Email: ksimard@choate.com
 Email: sgreissman@whitecase.com                     Email: hfoushee@choate.com
 Email: efeld@whitecase.com
 Email: azatz@whitecase.com                          Counsel for Citizens Business Capital

 Counsel for Citadel Advisors LLC




                                                 10
M2275\474935\274773436
            Case 23-11069-CTG              Doc 1323    Filed 12/08/23       Page 11 of 11



 Ronald J. Silverman                                  Michael Messersmith
 Christopher R. Bryant                                Arnold & Porter Kaye Scholer LLP
 Hogan Lovells US LLP                                 70 West Madison Street, Suite 4200
 390 Madison Avenue                                   Chicago, Illinois 60602
 New York, New York 10017                             Email: michael.messersmith@arnoldporter.com
 Email: ronald.silverman@hoganlovells.com
 Email: chris.bryant@hoganlovells.com                 Rosa Evergreen
                                                      Arnold & Porter Kaye Scholer LLP
 Counsel for The Bank of New York Mellon              601 Massachusetts Ave., N.W.
                                                      Washington, DC 20001
                                                      Email: rosa.evergreen@arnoldporter.com

                                                      Benjamin Mintz
                                                      Arnold & Porter Kaye Scholer LLP
                                                      250 West 55th Street
                                                      New York, New York 10019
                                                      Email: benjamin.mintz@arnoldporter.com




                                                  11
M2275\474935\274773436
